Case 2:18-cv-03093-JFW-AS Document 49 Filed 01/09/19 Page 1 of 4 Page ID #:489




  1   Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
  2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
  3   21550 Oxnard Street, Suite 780
      Woodland Hills, CA 91367
  4   Telephone: (216) 220-6496
  5   Facsimile: (866) 633-0028
      tfriedman@attorneysforconsumers.com
  6   abacon@attorneysforconsumers.com
  7
      John P. Kristensen (SBN 224132)            Robert H. Platt (SBN 108533)
  8   David L. Weisberg (SBN 211675)             Donald R. Brown (SBN 156548)
  9   Christina M. Le (SBN 237697)               Alexandra N. Hill (SBN 313249)
      KRISTENSEN WEISBERG, LLP                   MANATT, PHELPS & PHILLIPS, LLP
10    12450 Beatrice Street, Suite 200           11355 West Olympic Boulevard
11    Los Angeles, California 90066              Los Angeles, California 90064-1614
      Telephone: 310-507-7924                    Telephone: (310) 312-4000
12    Facsimile: 310-507-7906                    Facsimile: (310) 312-4224
13    john@kristensenlaw.com                     rplatt@manatt.com
      david@kristensenlaw.com                    dbrown@manatt.com
14    christina@kristensenlaw.com                ahill@manatt.com
15                                           Attorneys for Defendants Tinder,
      Attorneys for Plaintiff and all others
16    similarly situated                     Inc., Match Group, LLC, and Match
                                             Group, Inc.
17                      THE UNITED STATES DISTRICT COURT
18         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
      LISA KIM, individually on behalf of   ) Case No.: 2-18-cv-03093
19                                          )
      herself and all others similarly      )
20    situated,                             ) Hon. John F. Walter
                                            )
21           Plaintiff,                     ) REQUEST AND JOINT
                                            )
22           vs.                            ) STIPULATION TO LIFT STAY
                                            ) RENDERED IN COURT’S
23    TINDER, INC., a Delaware              ) STATEMENT OF DECISION
      corporation; MATCH GROUP, LLC, )) [DKT. NO. 44]
24
      a Delaware limited liability company; )
25    MATCH GROUP, INC., a Delaware         ) Complaint filed: April 12, 2018
26    corporation; and DOES 1 through 10, ))
      inclusive, and each of them,          )
27           Defendants.                    )
                                            )
28
              REQUEST AND JOINT STIPULATION TO LIFT STAY REDENDERED IN COURT’S
                            STATEMENT OF DECISION [DKT. NO. 44]
                                               -1-
Case 2:18-cv-03093-JFW-AS Document 49 Filed 01/09/19 Page 2 of 4 Page ID #:490




  1            Plaintiff Lisa Kim (“Plaintiff”) and defendants Tinder, Inc., 1 Match Group,
  2   LLC and Match Group, Inc. (collectively, “Defendants”) respectfully request that
  3   the Court lift the stay that was issued as part of the Court’s Statement of Decision
  4   [Dkt. No. 44] granting Defendants’ Motion to Compel Arbitration or Stay Under
  5   Colorado River Abstention [Dkt. No. 24]. The parties have reached a complete
  6   settlement of the individual and class claims in this action and request the lifting
  7   of the stay so that they may finalize the settlement of the class claims—beginning
  8   with the filing of a motion for preliminary approval of the settlement.
  9            IT IS SO STIPULATED.
10                                          Respectfully submitted,
11
          Dated: January 9, 2019            KRISTENSEN WEISBERG, LLP
12
13                                    By: /s/ John P. Kristensen
14                                        John P. Kristensen
                                          David L. Weisberg
15                                        Christina M. Le
16
          Dated: January 9, 2019            LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17
18                                    By: /s/ Adrian Bacon
19                                        Todd M. Friedman
                                          Adrian R. Bacon
20
                                            Attorneys for Plaintiff Lisa Kim
21
22
23
24
25
26
27    1
            Tinder, Inc., although named as a defendant, no longer exists, as it was merged
28          into Match Group, LLC in 2017.
                REQUEST AND JOINT STIPULATION TO LIFT STAY REDENDERED IN COURT’S
                               STATEMENT OF DECISION [DKT. NO. 44]
                                               -2-
Case 2:18-cv-03093-JFW-AS Document 49 Filed 01/09/19 Page 3 of 4 Page ID #:491




  1
       Dated: January 9, 2019                 MANATT, PHELPS & PHILLIPS, LLP
  2
  3
                                         By: /s/ Robert H. Platt
  4                                          Robert H. Platt
  5                                          Donald R. Brown
  6                                           Attorneys for Defendants Tinder, Inc.,
  7                                           Match Group, LLC, and Match Group, Inc.
  8
  9
10                        LOCAL RULE 5-4.3.4(a)(2)(i) CERTIFICATION
11             The filer of this document attests that all other signatories listed above on
12    whose behalf this filing is submitted concur in the filing’s content and have
13    authorized the filing.
14
15
      321504765.1
16
17
18
19
20
21
22
23
24
25
26
27
28
                    REQUEST AND JOINT STIPULATION TO LIFT STAY REDENDERED IN COURT’S
                                   STATEMENT OF DECISION [DKT. NO. 44]
                                                   -3-
Case 2:18-cv-03093-JFW-AS Document 49 Filed 01/09/19 Page 4 of 4 Page ID #:492



                            CERTIFICATE OF SERVICE


       I certify that on this ninth day of January 2019, the foregoing document
 titled REQUEST AND JOINT STIPULATION TO LIFT STAY RENDERED IN COURT’S
 STATEMENT OF DECISION [DKT. NO. 44] will be served in accordance with the
 Court’s CM/ECF system, which will send notification of such filing and a true
 copy of the foregoing document by notice via email to the ECF participants of
 record.


                                               /s/Vanessa Brahm
                                               Vanessa Brahm
